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January 6, 2018
Via Electronic Case Filigg

Magistrate Judge Ramon E. Reyes, Jr.

U.S. District Court for the Eastern District of NeW York
225 Cadman Plaza East, Room NZOS

Brooklyn, NY 11201

Re: Muchmore’s Cafe, LLC v. City of New York
Index No. 14-cv-5668 (RRM) (RER)
Response to Letter Application of Proposed Amicus Curiae Alan Sugarman

Your Honor:

Pursuant to Rule I(A)l of the Your lndividual Rules, Plaintiff Muchmore’s Cafe, LLC
submits this response to the letter application of proposed Amicus Curiae Alan Sugarman.

The Pronosed Amicus Br'ief Concerns an ADDlication Which Has Not Been Made

Pursuant to the January 4, 2018 letter application of Alan Sugarman, “Amicus Curiae Aian
D. Sugarman, an attorney admitted before this Court, a taxpayer of the City of New York, and a
person having an interest in the laws concerning dancing in the City of New York hereby moves this
Court for leave to file an Amicus Letter Brief under Local Civil Rule 5 .2(b) as to PlaintiH’ s request
for legal fees.”

However, Plaintiff Muchmore’s Cafe, LLC and its undersigned counsel have not made any
application to the Court for attorneys’ fees. As set forth in the joint status report of Plaintiff and
Defendant dated December 19, 2017, Plaintif’r` and Defendant are negotiating the matter of
attorneys’ fees, but no application is pending before the Court. If the matter of attorney's fees is
resolved, the parties intend to execute a Stipulation _of Dismissal to be so ordered by the Court. If
the matter of attorneys' fees is not resolved, Plaintiff’s counsel intends to submit a pre-motion letter
seeking leave to amend its pleading to address references to “dancing" or "cabarets” in other
provisions of the New York City Administrative Code and to enjoin the enforcement of such
provisions While this firm has invested nearly three hundred attorney hours into securing the repeal
of the Cabaret Law, no motion for attorneys’ fees has been filed or is imminent

'I`he Proposed Amicus Curiae’s Disagreement with Plaintiff’s Litigation Strategy
Does Not Justifv His Intervention in this Proceeding

This firm collaborated with proposed Amicus Curiae Alan Sugarman early in this action.
Mr. Sugarman submitted an Afiidavit in opposition to the Defendant’s Cross-Motion for Judgment
on the Pleadings and procured an Affidavit from Pedro Giraudo in opposition to such Cross-Motion.

HoWever, due to differences of opinion in litigation strategy, this firm elected not to continue
in the collaboration beyond that point. Specificaliy, Mr. Sugarman expressed concerns that this firm

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would be unable to successfully challenge the Cabaret Law, that he was skeptical of Plaintiff’s
Equal Protection Clause claims, that greater emphasis should be placed on the disparate treatment of
hotels and other groups subject onlyl to rational basis scrutiny, and that a challenge to the provisions
of the New York City Zoning Resolution impacting dancing was also necessary

Plaintiff’s challenge to the Cabaret Law is predicated primarily on First Arnendment
grounds, and secondarily on Equal Protection Clause grounds _in relation to race and sexual
orientation Plaintiii"s motion papers and the Court’s Memorandum and Order dated September 29,
2016 focus primarily on the First Amendment, though Plaintiff’s Equal Protection Clause claims
also survived the Defendant’s Cross-Motion for Judgment on the Pleadings

The First Arnendment arguments set forth in Plaintiff’s moving papers provide the clearest
grounds for a determination the Cabaret Law is unconstitutional without consideration of fact issues
that could not be resolved in the context of cross-motions for judgment on the pleadings These
arguments would have resulted in a determination the Cabaret Law violates the United States
Constitution had the City not acted to repeal the Cabaret Law While this action was pending
Plaintiff’s counsel worked closely With Council Member Rafael Espinal, other members of the City
Council, and numerous interest groups to optimize the language of the repeal bill and secure its
passage while this action Was pending

While Plaintiff’s primary claims are focused on the First Amendment, Plaintiff’s Equal
Protection Clause claims are also predicated on a solid factual and legal foundation and survived
Defendant’s Cross-l\/Iotion seeking dismissal. Plaintiif never argued that the original text of the
Cabaret Law was explicitly predicated on race, but instead argued the racial animus behind the law
was implicit and that it continues to have a disparate impact Federal case law is clear the
motivation behind a challenged law can be surmised not just from its text, but from the
circumstances leading up to its enactment Harper v. Wrginia, 383 U.S. 663 (1966); Hunfer v_
Underwood, 471 U.S. 222 (1985).

lt is by no means a radical proposition that the Cabaret Law was motivated by racial animus.
At the November 27, 2017 signing of the bill repealing the Cabaret Law, Mayor William DeBlasio
acknowledged the measure Was needed to “right a wrong”; that “the Cabaret Law was in many
ways repressive”; that “there’s a very insidious history behind the law, because it was hardly put
there for the purest purposes”; and that “we know this law was used to persecute and harass people,
in many cases because of the color of their skin or who they chose to love”. See
hlrps://wwwyoutube.com/watch?v=Mq_uQHSYx6s. Council Member Rafael Espinal, the primary
bill sponsor, stated the Cabaret Law had “historically been used and enforced unevenly toward
marginalized communities”; and “if you owned a business or cultural space that was heavily
patronized by people of color, or by artists, or by the LGBT community, you Were targeted.” Id. The
official Twitter account of the New York City Council posted on October 31, 2017, “#CabaretLaw
Was used to target specific establishments- Black, Gay, Latino communities were deeply impacted
by outdated law- #NYCCstated”. In addition to these admissions, the bill jacket annexed as an
exhibit to l\/lr. Sugarman’s letter motion explicitly references jazz. The Supreme Court of New York
determined in Chaisson v. City ofNew York, 505 N.Y.S.2d 499 (Sup. Ct. N.Y. Co. 1986) that the
Cabaret Law’s targeting of jazz lacked a defensible basis. lt is scurrilous for Mr. Sugarman to
intimate this firm in any way misled the Court. His argument assumes that not only the Court, but
the Mayor, the City Council, the New York Times, the Wall Street lournal, and other respected
media outlets Were all misled by a small Brooklyn music venue as to the Cabaret Law’s motivation
more than 91 years ago. lt also ignores the extensive focus on First Amendment issues in Plaintiff’s
moving papers and the Court’s Memorandum and Order, treating them as mere dicta with no legal
significance ' '

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Remaininr.’. Zonina Issues

Plaintiff and its undersigned counsel agree with Mr. Sugarrnan’s assessment that the
remaining references to “dancing” or “cabarets” in the New York City Zoning Resolution pose a
grave threat to the Constitutional rights of New Yorkers and must be eliminated The repeal of the
Cabaret Law means that dancing is now legally permitted in places other than eating and drinking
establishments, and in eating and drinking establishments that possess a Use Group 12 Certilicate of
0ccupancy. The repeal of the Cabaret Law has expanded the number of places in which New
Yorkers can legally dance in public from less than one hundred to many thousands, but most eating
and drinking establishments continue to be located in zoning districts Where dancing is forbidden

Plaintiff’s pleading did not challenge the relevant provisions of the Zoning Resolntion
because Plaintiif’s business is located in a zoning district that permits Use Group 12. As a result, it
appeared Plaintiff Was not ideally situated to challenge these provisions However, in light of
provisions such as Sec. 27-954(5) of the City’s 1968 Building Code, Which require expensive fire
sprinkler systems in eating and drinking establishments considered “cabarets”, it appears Plaintiff
may have standing to challenge these provisions If Plaintiff and Defendant reach an agreement on
the issue of attorneys’ fees, Plaintiff’s counsel intends to discontinue this action, but reserves the
right to challenge these code sections if the City fails to amend them in due course Mr. Sugarman is
equally capable of commencing his own action to challenge these provisions rather than seeking to
compel Plaintiff to pursue his preferred litigation strategy

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For the foregoing reasons, it is respectfully requested that the letter application of proposed
Amicus Curiae Alan Sugarman be denied, and that Plaintiff and Defendant be permitted to reach a
resolution of the attorneys’ fees issue through voluntary settlement If such a resolution is not
reached, Plaintiff intends to submit a separate pre- -rnotion letter seeking to amend its pleading and to
obtain a preliminary injunction concerning references to “dancing” and “cabarets” in other
provisions of the New York City Administrative Code.

Respectfully submitted,

MMK

Andrew l\/luchrnore

cc: Ave Maria Brennan, Esq. (Via Electronic Case Filing)
Hon. Ramon E. Reyes, Jr. (Via First Case Filing)
Jerry Goldman, Esq. (Via Electronic Case Filing)
Alan Sugarman, Esq. (Via Electronic Case Filing)

